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 1                                                      THE HONORABLE JUDGE LASNIK
 2
 3
 4
                             UNITED STATES DISTRICT COURT
 5
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
     UNITED STATES OF AMERICA,                     ) No. 15-043-RSL
 8                                                 )
                    Plaintiff,                     )
 9                                                 )
               v.                                  ) ORDER TO CONTINUE TRIAL AND
10                                                 ) PRETRIAL MOTIONS DATE
     CRISTOBAL ORTIZ,                              )
11   MIGUEL REYES BRAVO,                           )
                                                   )
12                  Defendants                     )
13          DEFENDANTS CRISTOBAL ORTIZ, through counsel Christopher Carney,

14   and MIGUEL REYES BRAVO, through counsel Terrence Kellogg, and the United

15   States of America, by and through Annette L. Hayes, United States Attorney, and

16   Karyn Johnson and Steven Masada, Assistant United States Attorneys, having moved

17   by stipulation for a continuance of the trial date, the Court having considered the factual

18   basis for continuance set forth in the stipulation as well as the file and record herein, the

19   Court makes the following findings of fact and conclusions of law:

20          1. The ends of justice served by granting this continuance outweigh the

21   best interests of the public and the defendants in a speedy trial. 18 U.S.C.

22   § 3161(h)(7)(A).

23          2. The family medical situation of counsel for Mr. Ortiz will make him unable

24   to adequately represent Mr. Ortiz on the currently scheduled trial date, and failure to

25   grant the requested continuance would deny Mr. Ortiz continuity of counsel. 18 U.S.C.

26   § 3161(h)(7)(B)(iv).

                                                                     CARNEY GILLESPIE ISITT PLLP
      ORDER CONTINUING TRIAL TO                                       315 Fifth Avenue S, Suite 860
      NOVEMBER 16, 2015                                                  Seattle, Washington 98104
      (US v. Ortiz, 15-043-RSL) - 1                                                 (206) 445-0212
            Case 2:15-cr-00043-RSL       Document 58      Filed 08/18/15        Page 2 of 2




 1         NOW, THEREFORE, IT IS HEREBY ORDERED that the stipulated motion is
 2   GRANTED. The trial date in this case is continued from the current date of
 3   September 28, 2015, to November 16, 2015. The pre-trial motions date is continued
 4   from August 3, 2015, to October 1, 2015.
 5         IT IS FURTHER ORDERED that the period of time from the current trial date
 6   of September 28, 2015, up to and including the new proposed trial date of November
 7   16, 2015, is hereby excluded for speedy trial purposes, 18 U.S.C.§ 3161(h)( 7)(A) and
 8   18 U.S.C.§ 3161(h)(7)(B).
 9         All pretrial motions shall be filed no later than October 1, 2015.
10
11   DATED this 18th day of August, 2015.
12
13
                                                     A
                                                     Robert S. Lasnik
14
                                                     United States District Judge
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                                                                   CARNEY GILLESPIE ISITT PLLP
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